                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                       No. 08-CR-4060-LRR
 vs.
                                                                           ORDER
 MICHAEL JAMES KLUGE,
                  Defendant.
                                       ____________________

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                                  I. INTRODUCTION
       The matter before the court is the sentencing of Defendant Michael James Kluge
(“Kluge”), which includes Kluge’s Motion for Sentencing Variance (docket no. 784), filed
May 22, 2009, and Motion to Reduce Sentence for Acceptance of Responsibility (docket
no. 786), filed May 22, 2009.
                       II. RELEVANT PRIOR PROCEEDINGS
       On November 20, 2008, the grand jury returned a one-count Third Superseding
Indictment (docket no. 242) against twenty-three defendants, one of whom is Kluge. Each
defendant is charged with conspiracy to manufacture 50 grams or more of actual
methamphetamine, in violation of 21 U.S.C. § 846.
       All of the defendants except Kluge pled guilty. Kluge stood on his plea of not guilty
and proceeded to trial on February 2, 2009. A unanimous petit jury found Kluge guilty.
The jury also unanimously found, beyond a reasonable doubt, that the amount of
methamphetamine involved in the conspiracy was 50 grams or more of actual, pure
methamphetamine.
       After being convicted, Kluge fired his attorney and sought to represent himself.
The court granted his request and appointed CJA Panel Attorney E. Daniel O’Brien as
standby counsel. Kluge filed a Motion for Judgment of Acquittal and Motion for New
Trial (docket no. 587) and the court denied such motion (docket no. 763).
       A draft Presentence Investigation Report (“PSIR”) was disclosed on or about March
25, 2009. Each party responded to the draft PSIR. A revised and final Presentence
Report that incorporated and responded to the parties’ timely objections was filed on April
27, 2009.
       On May 28, 2009, the court held Kluge’s sentencing hearing (“Hearing”).
Assistant United States Attorney John H. Lammers represented the United States. Kluge
represented himself. Standby counsel E. Daniel O’Brien was present. At the Hearing, the
court received evidence, heard arguments and granted Kluge the right to allocute. The

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court advised the parties that it would take the sentencing issues under advisement, issue
a written opinion and then reconvene the Hearing to impose sentence.
                            III. SENTENCING FRAMEWORK
       A “district court should begin [a sentencing proceeding] with a correct calculation
of the [defendant’s] advisory Sentencing Guidelines range.” United States v. Braggs, 511
F.3d 808, 812 (8th Cir. 2008). A defendant’s advisory Sentencing Guidelines range “is
arrived at after determining the appropriate Guidelines range and evaluating whether any
traditional Guidelines departures are warranted.” United States v. Washington, 515 F.3d
861, 865 (8th Cir. 2008).
       “[A]fter giving both parties a chance to argue for the sentence they deem
appropriate, the court should consider all of the factors listed in 18 U.S.C. § 3553(a) to
determine whether they support the sentence requested by either party.” Braggs, 511 F.3d
at 812. “The district court may not assume that the Guidelines range is reasonable, but
instead ‘must make an individualized assessment based on the facts presented.’” Id.
(quoting Gall v. United States, 128 S. Ct. 586, 597 (2007)); see, e.g., Nelson v. United
States, 129 S. Ct. 890, 892 (2009) (“Our cases do not allow a sentencing court to presume
that a sentence within the applicable Guidelines range is reasonable.”).
       The district court “has substantial latitude to determine how much weight to give
the various factors under § 3553(a).” United States v. Ruelas-Mendez, 556 F.3d 655, 657
(8th Cir. 2009). “If the court determines that a sentence outside of the Guidelines is called
for, it ‘must consider the extent of the deviation and ensure that the justification is
sufficiently compelling to support the degree of the variance.’” Braggs, 511 F.3d at 812
(quoting Gall, 128 S. Ct. at 597). “The sentence chosen should be adequately explained
so as ‘to allow for meaningful appellate review and to promote the perception of fair
sentencing.’” Id.




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                                IV. EVIDENTIARY RULES
       The court makes findings of fact by a preponderance of the evidence. See, e.g.,
United States v. Bah, 439 F.3d 423, 426 n.1 (8th Cir. 2006) (“[J]udicial fact-finding using
a preponderance of the evidence standard is permitted provided that the [Sentencing
Guidelines] are applied in an advisory manner.”). The court considers a wide variety of
evidence, including the undisputed portions of the PSIR, as well as the testimony and other
evidence the parties introduced at the Hearing. The court does not “put on blinders” and
only consider the evidence directly underlying Kluge’s offense of conviction.              In
calculating Kluge’s advisory SEntencing Guidelines range, for example, the court applies
the familiar doctrine of relevant conduct. See USSG §1B1.3 (2008). The Eighth Circuit
Court of Appeals has repeatedly held that a district court may consider uncharged,
dismissed and even acquitted conduct at sentencing. See, e.g., United States v. Whiting,
522 F.3d 845, 850 (8th Cir. 2008); United States v. Bradford, 499 F.3d 910, 922 (8th Cir.
2007), cert. denied, 128 S. Ct. 1446 (2008). When relevant and “accompanied by
sufficient indicia of reliability to support the conclusion that it [was] probably accurate,”
the court credits hearsay. United States v. Sharpfish, 408 F.3d 507, 511 (8th Cir. 2005).
                                          V. FACTS
       The following facts are drawn from the trial record, the uncontested portions of the
PSIR, the Hearing testimony and the other evidence presented at the Hearing:1
       Kluge and twenty-two others were involved in a conspiracy to manufacture
methamphetamine in and around Sioux City, Iowa. It is undisputed the primary “cook”
was Anthony Greiner. Other defendants, including Michael Breaman, Jeramie Frederick
and Nathan DeWall, had managerial roles in the conspiracy. Still others, including Kluge,
gathered pseudoephedrine pills that are necessary to make methamphetamine and swapped
the pills with Anthony Greiner directly or through intermediaries for methamphetamine.

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           The court makes additional factual findings in conjunction with its conclusions of
law.

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As is common in conspiracies, many of the co-conspirators were not well-acquainted with
one another. The petit jury unanimously found beyond a reasonable doubt that the total
amount of actual pure methamphetamine was 50 grams or more. The court finds that such
amount is fully supported by the evidence.
                                       VI. ISSUES
       Kluge filed a number of documents outlining his objections to the PSIR. Some of
the objections were withdrawn or amended at the Hearing.2             Kluge objects to the
enhancement for career offender pursuant to USSG §4B1.1. Kluge argues that he did not
obstruct justice pursuant to USSG §3C1.1. Kluge claims that he is entitled to a reduction
in his Sentencing Guidelines computation for role in the offense pursuant to USSG §3B1.2.
Finally, Kluge also seeks a variance from the advisory Sentencing Guidelines range.
       The United States bears the burden of proof on the career offender and obstruction
of justice enhancements. See United States v. Flores, 362 F.3d 1030, 1037 (8th Cir. 2001)
(stating that the government bears the burden to prove sentencing enhancements). Kluge
has the burden of proving that a downward adjustment for role in the offense is warranted.
See United States v. Goodman, 509 F.3d 872, 875 (8th Cir. 2007) (“The burden of
establishing minimal-participant status rests with the criminal defendant.”). In addition,
the parties may demonstrate that a variance from the advisory Sentencing Guidelines is
warranted. The court discusses each of these issues below.
            VII. COMPUTATION OF ADVISORY GUIDELINE RANGE
       Ordinarily, the court would consider the issues in the sequence set forth at USSG
§1B1.1; however, because a finding of career offender would trump all the other guideline
issues, the court will address the career offender issue first.



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         Kluge withdrew his objections to drug quantity and to his criminal history except
the scoring of him as a career offender. He also withdrew his argument that he was
entitled to a two level reduction in his offense level for acceptance of responsibility under
USSG §3E1.1.

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                           A. Career Offender—USSG §4B1.1
       Kluge is a career offender for purposes of the advisory Sentencing Guidelines if:
(1) he was at least eighteen years old at the time he committed the instant offense of
conviction; (2) the instant offense of conviction is a felony that is a controlled substance
offense; and (3) he has at least two prior felony convictions of a crime of violence. USSG
§4B1.1(a).
       There is no dispute that Kluge was at least eighteen years of age when he committed
the instant offense of conviction, that is, conspiracy to manufacture methamphetamine.
The PSIR lists Kluge’s date of birth as March 13, 1971. Kluge did not object to this
assertion, and, thus, the court may rely on it. See United States v. Beatty, 9 F.3d 686, 690
(8th Cir. 1993) (“Under our cases, a district court is clearly permitted to accept as true all
factual allegations contained in the PSIR that are not specifically objected to by the
parties.”). It is also not disputed that the instant offense is a controlled substance offense.
See USSG §4B1.1, cmt. (n.1) (stating that the phrase “controlled substance offense” is
defined in USSG §4B1.2); USSG §4B1.2(b) (defining “controlled substance offense” as
including federal drug manufacturing crimes).
       Kluge argues that the two predicate offenses relied on in the PSIR, that is, Iowa
convictions for Burglary in the Third Degree and Eluding, are not crimes of violence for
purposes of the career offender enhancement under the advisory Sentencing Guidelines.
       For purposes of USSG §4B1.1(a),
       (a)    The term “crime of violence” means any offense under federal or
              state law, punishable by imprisonment for a term exceeding one year,
              that—
                      (1)   has as an element the use, attempted use, or
                            threatened use of physical force against the
                            person of another, or

                     (2)     is burglary of a dwelling, arson, or extortion,
                             involves use of explosives, or otherwise involves



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                            conduct that presents a serious potential risk of
                            physical injury to another.
USSG §4B1.2.
       1.     Two Predicate Felonies
       a.     Burglary in the Third Degree
       On March 13, 1998, Kluge was convicted of Burglary in the Third Degree, a
violation of Iowa Code section 713.1 (1997) and Iowa Code section 713.6A (1997). There
is no dispute that Burglary in the Third Degree is a felony as defined under federal law.
See USSG §4B1.1, cmt. (n.1) (stating that the phrase “two prior felony convictions” is
defined in USSG §4B1.2); USSG §4B1.2, cmt. (n.1) (advising that “‘[p]rior felony
conviction’ means a prior adult . . . state conviction for an offense punishable by . . .
imprisonment for a term exceeding one year, regardless of whether such offense is
specifically designated as a felony and regardless of the actual sentence imposed”); see
also Iowa Code § 713.6A (1997) (defining Burglary in the Third Degree as a class “D”
felony); see also Iowa Code § 902.9(5) (1997) (stating that a class “D” felon shall be
confined for no more than five years). Kluge argues this conviction does not qualify as
a predicate offense for career offender because he entered an Alford plea to avoid admitting
that he burglarized a dwelling.
       Burglary of a dwelling is a specifically enumerated predicate crime of violence for
purposes of the career offender enhancement. USSG §4B1.2(a)(2). When analyzing
whether Kluge’s prior conviction for Burglary in the Third Degree is a “crime of
violence,” the court must use the “modified categorical approach.” See, e.g., United
States v. Williams, 537 F.3d 1183, 1185 (8th Cir. 2009) (applying the “modified
categorical approach”). Thus, judicial fact-finding with respect to USSG §4B1.1(a)(3) is
limited to a review of “‘[the terms of] the charging document, the terms of the plea
agreement or transcript of colloquy between judge and defendant in which the factual basis
for the plea was confirmed by the defendant, or to some comparable judicial record of this
information.’” Id. (quoting Shepard v. United States, 544 U.S. 13, 26 (2005)).

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       The complaint filed in State v. Kluge, FECR047622 (Woodbury County Dist. Ct.
1998), charged Kluge with Burglary in the Third Degree, in violation of Iowa Code section
713.1. It alleged that Kluge, having the intent to commit a felony, assault or theft therein,
broke into or entered an occupied structure not open to the public without a right, license
or privilege to do so. In the affidavit supporting the complaint, the arresting officer stated:
       [Kluge] was detained in a traffic stop after the [complainant] identified
       [Kluge] as the person driving a [vehicle] that had an ATL on it. [Kluge] was
       identified [as] the subject who broke into the residence at 806 N. Logan and
       removed numerous clothing items as well as other property. At the time the
       [vehicle] was located there was a large quantity of clothing items in the trunk
       of the [vehicle]. ID was called to photograph the clothes and the items were
       returned to the [complainant].
Government Exhibit 1.3 The trial information charges Burglary in the Third Degree, in
violation of Iowa Code section 713.1 and Iowa Code section 713.6A. It alleges that
Kluge, with the intent of committing a theft therein, entered an occupied structure not open
to the public without a right, license or privilege to do so. Although the trial information
references minutes of testimony, none are attached to the exhibit presented to the court.4
       At the plea and sentencing hearing, these exchanges occurred between the Iowa
District Court for Woodbury County and Kluge:
              ...


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        The government did not number the pages in Government Exhibit 1, thus making
it more time consuming to locate and identify the relevant documents associated with this
case.
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        The government did not obtain the minutes of testimony which would have been
attached to the trial information. In Iowa, the minutes of testimony generally are not
available online at: http://www.judicial.state.ia.us/Online_Court_Services/, and they must
be obtained by court order or from the county attorney. Out of an abundance of caution,
the court had the United States Probation Office (“USPO”) obtain the minutes of testimony
for State v. Kluge, FECR047622 (Woodbury County Dist. Ct. 1998), to confirm the
charge was for burglary of a dwelling. The minutes of testimony are attached to this order
as Court Exhibit 1.

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               THE COURT: All Right. At this time I would ask Miss
        Krigsten to advise the defendant of the elements the state
        would have to prove beyond a reasonable doubt in order to
        convict him of the charge of burglary in the third degree which
        is Case No. 47622.

               MS. KRIGSTEN: In that case the state would have to
        prove the following: That on or about December 17, 1997 in
        Woodbury County, Iowa, the defendant entered an occupied
        structure not open to the public. Specifically, the structure is
        a residence located at 806 North Logan; that the defendant had
        no right, license, or privilege to enter this structure; and that
        he entered with the intent to commit a theft.

               THE COURT: Mr. Kluge, do you understand the
        elements the state would have to prove beyond a reasonable
        doubt in order to convict you of this charge of burglary in the
        third degree?

               THE DEFENDANT: Yes, I do.

              THE COURT: Please advise the defendant of the
        maximum penalty that can be imposed for a conviction of
        burglary in the third degree.

               MS. KRIGSTEN: This charge is a Class D felony, and
        the maximum penalty would be up to five years in prison or a
        fine of up to $7,500 plus 30 percent surcharge and costs.

              THE COURT: Mr Kluge, do you understand the
        maximum penalty that can be imposed for a conviction of
        burglary in the third degree:

               THE DEFENDANT: I do.

                THE COURT: Knowing what the elements of the crime
        of burglary in the third degree are and knowing what the
        maximum penalty is, how do you plead to the charge of
        burglary in the third degree? Do you plead guilty or not
        guilty?

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                     THE DEFENDANT: Guilty.
              ...
Defendant Exhibit A, p. 5, line 4—p. 6, line 14.
       An examination of the plea and sentencing transcript makes it clear that the plea
agreement between the State and Kluge involved: (1) Kluge entering an Alford plea; (2)
the State agreeing not to charge Kluge with other criminal offenses, including habitual
offender; and (3) a sentence of up to five years in prison. Defendant Exhibit A, p. 11, line
13—p. 12, line 7; p. 12, line 23—p. 13, line 9; p. 18, line 17—p. 20, line 3. There is
nothing in the plea and sentencing transcript that suggests Kluge’s plea was to anything
other than burglary of a dwelling. In fact, at the time of the plea and sentencing, Kluge
acknowledged the facts included in the minutes of testimony and the court ordered Kluge
to make restitution to the victims of his offense, including Glenda and Joel Reed, who are
listed as residents of 806 N. Logan. Defendant Exhibit A, p. 11, line 19—p. 12, line 7;
p. 22, line 6-11. The judgment that entered against him in State v. Kluge, FECR047622
(Woodbury County Dist. Ct. 1998), reflects, among other things, a conviction for Burglary
in the Third Degree, in violation of Iowa Code section 713.1 and Iowa Code section
713.6A, and the restitution ordered by the Iowa District Court for Woodbury County.
Government Exhibit 1.
       Thus, using the modified categorical approach, the court finds that Kluge was
convicted in State v. Kluge, FECR047622 (Woodbury County Dist. Ct. 1998) of burglary
of a dwelling, a felony punishable by imprisonment for up to five years. Thus, this offense
qualifies as a predicate offense for career offender under USSG §4B1.1(a)(3).
       b.     Eluding
       On April 12, 2002, Kluge was convicted in State v. Kluge, AGCR056466
(Woodbury County Dist. Ct. 2002), of Eluding, in violation of Iowa Code section
321.279(3) (2001). Eluding is a class “D” felony under Iowa law, see Iowa Code §


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321.279(3) (2001); see also Iowa Code § 902.9(5) (2001) (stating that a class “D” felon
shall be confined for no more than five years), and it is a felony as defined under federal
law, see USSG §4B1.1, cmt. (n.1) (stating that the phrase “two prior felony convictions”
is defined in USSG §4B1.2); USSG §4B1.2, cmt. (n.1) (advising that “‘[p]rior felony
conviction’ means a prior adult . . . state conviction for an offense punishable by . . .
imprisonment for a term exceeding one year, regardless of whether such offense is
specifically designated as a felony and regardless of the actual sentence imposed”). The
trial information charged Kluge with two counts:
                                         Count 1
              Said Defendant, on or about August 15, 2001, in Woodbury
              County, Iowa, willfully failed to bring a motor vehicle to a
              stop or otherwise eluded or attempted to elude a marked
              official law enforcement vehicle that was driven by a
              uniformed peace officer after being given a visual and audible
              signal to stop and in doing so exceeded the speed limit by
              twenty-five miles per hour or more, and the Defendant was
              also in violation of Iowa Code section 124.401, said Defendant
              having twice before been convicted of a felony, all in violation
              of Iowa Code section 321.279(3) and [Iowa Code section]
              902.8.
                                          Count 2
              Said Defendant, on or about August 15, 2001, in Woodbury
              County, Iowa, knowingly possessed a controlled substance
              (methamphetamine), all in violation of Iowa Code section
              124.401(5).
Government Exhibit 1.5


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         Again, even though the approval order by the Iowa District Court for Woodbury
County references the trial information and the minutes of testimony, the government
failed to supply the court with the minutes of testimony, which would have been attached
to the trial information. Out of an abundance of caution, the court had the USPO obtain
the minutes of testimony. The minutes of testimony are attached to this order as Court
Exhibit 2.

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       A supplemental trial information changed the language in Count 1 slightly so that
the last phrase read: “and the Defendant was also in violation of Iowa Code section
124.401, all in violation of Iowa Code section 321.279(3).” Government Exhibit 1. The
affidavit in support of the complaint that the arresting officer filed in State v. Kluge,
AGCR056466 (Woodbury County Dist. Ct. 2002), stated:
              The Defendant was stopped while operating a motor vehicle
              which was stopped for suspicious activity, and the following
              traffic charges followed: The Defendant was speeding 65 mph
              in a 30 mph zone in the 1400 Blk of Villa St. At this time
              officers were in a pursuit with the Defendant and were
              operating marked law enforcement vehicles with flashing red
              lights and siren in operation.
Government Exhibit 1.
       According to the docket in State v. Kluge, AGCR056466 (Woodbury County Dist.
Ct. 2002), “Defendant plead[ed] guilty to Ct I Eluding and Ct II Possession Controlled
Substance Methamphetamine, [and deferred his plea] until sentencing.” Government
Exhibit 1. And, as part of the plea agreement, the habitual offender enhancement on
Count 1 was deleted. Government Exhibit 1. On April 12, 2002, judgment entered
against Kluge for Eluding, and he was sentenced pursuant to Iowa Code section 124.401
and Iowa Code section 321.279(3). Government Exhibit 1.
       For present purposes, the court assumes that Eluding does not have “as an element
the use, attempted use, or threatened use of physical force against the person of another.”
USSG §4B1.2(a)(1). Further, Eluding is not a specifically enumerated crime of violence
under USSG §4B1.1(a)(2). Thus, if Eluding is to be used as a predicate for establishing
that Kluge is a career offender, it must qualify under the “otherwise” clause of USSG
§4B1.1(a)(2).
       The Eighth Circuit Court of Appeals has not had the opportunity to analyze Iowa
Code section 321.279(3)(a) to determine whether Eluding is a “crime of violence” or a
“violent felony.” However, the Eighth Circuit affirmed that fleeing or attempting to elude

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under Or. Rev. Stat. section 811.540 did constitute a crime of violence for purposes of
USSG §4B1.2. See United States v. Kendrick, 423 F.3d 803, 809 (8th Cir. 2005).
Writing for the Eighth Circuit Court of Appeals, Judge Gruender described the dangers
of fleeing a police officer in a vehicle as follows:
                      A person commits the crime of fleeing or attempting to
              elude a police officer if, while operating a motor vehicle, he
              knowingly flees or attempts to elude an identifiable police
              officer after the officer has just given a visual or audible signal
              to stop. O.R.S. § 811.540. The conduct associated with the
              commission of felony fleeing calls to mind the risks associated
              with escape and automobile theft. In United States v. Nation,
              243 F.3d 467 (8th Cir. 2001), we recognized that every
              escape, even the most peaceable escape, “‘is a powder keg,
              which may or may not explode into violence and result in
              physical injury to someone at any given time, but which
              always has the serious potential to do so.’” Id. at 472 (quoting
              United States v. Gosling, 39 F.3d 1140, 1142 (10th Cir.
              1994)). This is because “an escapee is likely to possess a
              ‘variety of super-charged emotions, and in evading those
              trying to recapture him, may feel threatened by police officers,
              ordinary citizens, or even fellow escapees.’” Id. (quoting
              Gosling, 39 F.3d at 1142). There is little doubt that felony
              fleeing involves, at the very least, the same risks of physical
              injury to another as a walk-away escape.

                      In reality the dangerous circumstances surrounding a
              person’s attempt to flee from law enforcement are compounded
              by the person’s operation of a motor vehicle. The desperate
              situation that a person fleeing from law enforcement may find
              himself in is, in many ways, reminiscent of the serious
              potential risk of injury surrounding an automobile theft. As a
              person is in flight from custody, his vehicle has the potential
              to become a deadly or dangerous weapon. United States v.
              Sun Bear, 307 F.3d 747, 753 (8th Cir. 2002). Further,
              “[u]nder the stress and urgency which will naturally attend his
              situation, [a person fleeing from law enforcement] will likely
              drive recklessly and turn any pursuit into a high-speed chase


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               with the potential for serious harm to police or innocent
               bystanders.’” Id.
Id.
      Similarly, the Seventh Circuit Court of Appeals has held that a conviction for fleeing
under Wisconsin statute 346.04(3) categorically qualifies as a “violent felony” or “crime
of violence.” See, e.g., United States v. Howze, 343 F.3d 919, 921-22 (7th Cir. 2003)
(Easterbrook, J.). The crime of fleeing under Wisconsin law is similar to Eluding under
Iowa law. “Fleeing” requires fleeing or attempting to elude a traffic officer in a marked
car who has given a visual or audible signal to stop and thereby endangering the operation
of the police, other vehicles or pedestrians or increasing the speed of the operator’s vehicle
or extinguishing the lights of the vehicle in an attempt to elude or flee. Wis. Stat. §
346.04(3).
        The above cases are still good law after Begay v. United States, 553 U.S. ___, 128
S. Ct. 1581 (2008). In Begay, the United States Supreme Court analyzed the “otherwise”
clause in the Armed Career Criminal Act and held that drunk driving was not a “violent
felony.” 128 S.Ct. at 1585-86 (discussing N.M. Stat.Ann. § 66-8-102(A) et seq). The
Supreme Court held that, for a prior felony offense to fall within the scope of the
“otherwise” clause, such offense must (1) “pose a similar degree of risk of physical injury
as the example crimes” and (2) “be similar in kind to the example crimes.” Williams, 537
F.3d at 972 (citing Begay, 128 S.Ct. at 1585-86). “For a crime to be similar in kind to
the example crimes, it should typically involve ‘purposeful, violent and aggressive
conduct.” Id.
        The court finds Begay does not undermine cases such as Howze and McDendrick.
Eluding poses a similar degree of risk of physical injury as the example crimes and is
similar in kind to the example crimes. Eluding is purposeful, violent and aggressive. A
vehicle can be a powerful weapon at the hands of a criminal. Eluding is a far cry from the
drunk driving statute at issue in Begay or other crimes that “impose strict liability,

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criminalizing conduct in respect to which the offender need not have had any criminal
intent at all.” Begay, 128 S.Ct. at 1586-87.      Iowa Code section 321.279(3) criminalizes
a particularly dangerous and purposeful sort of eluding or fleeing. Specifically, a fleeing
where the defendant is exceeding the speed limit by twenty-five miles per hour or more
and (1) the driver is participating in a felony crime, (2) the driver is in violation of Iowa
Code section 321J.2, that is, operating a motor vehicle while under the influence of alcohol
or drugs, or Iowa Code section 124.401, that is, manufacturing, delivering or possessing
with the intent to manufacture or deliver a controlled substance, or (3) the offense results
in bodily injury to a person other than the driver. See Iowa Code § 321.279(3)(a—c).
       Consistent with these conclusions about fleeing or eluding, the Seventh Circuit
Court of Appeals has adhered to Howze after Begay. See, e.g., United States v. Spells,
537 F.3d 743, 752-73 (7th Cir. 2008) (construing similar Indiana statute). The Seventh
Circuit Court of Appeals emphasized that the government had to prove the defendant
knowingly fled a police officer. Id. at 752. Such requirement “ensur[es] that the law is
only violated when an individual makes a ‘purposeful’ decision to flee from an officer.”
Id. “Additionally, such conduct, when committed with a vehicle, is inherently aggressive.”
Id. The Seventh Circuit Court of Appeals cited evidence to prove that persons who flee
with firearms are more likely to use those firearms. Id. (citation omitted). After Begay,
statutes such as Iowa Code section 321.279 must be distinguished from so-called “failure
to stop” statutes, which criminalize unintentional conduct. Compare United States v. West,
550 F.3d 952, 965 (10th Cir. 2008) (fleeing a qualifying predicate) with United States v.
Roseboro, 551 F.3d 226 (4th Cir. 2009) (failure to stop not a qualifying predicate and
remanding).
       Support for this holding is also found in Chambers v. United States, 555 U.S. ___,
129 S. Ct. 687 (2009), which is a subsequent decision of the Supreme Court that discusses
predicate felonies for the ACCA enhancement. In Chambers, the Supreme Court held that
failing to report or return to law enforcement custody was not a “violent felony.” 129

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S.Ct. at 693. The Supreme Court characterized failing to report as “a form of inaction,
a far cry from the ‘purposeful, violent, and aggressive conduct’ potentially at issue when
an offender” commits burglary, arson, extortion or uses explosives. Id. at 692. The
Supreme Court noted that, “[w]hile an offender who fails to report must of course be doing
something at the relevant time, there is no reason to believe that the something poses a
serious potential risk of physical injury.” Id. And, the Supreme Court distinguished a
mere failure to report from an escape from custody; the Supreme Court stressed that “[t]he
behavior that underlies a failure to report would seem less likely to involve a risk of
physical harm than the less passive, more aggressive behavior underlying an escape from
custody.” Id at 691. The Supreme Court pointed to evidence in the record that supported
its suppositions about dangerousness and, thus, buttressed its conclusions. Id. at 692-93.
      Here, Eluding is more akin to actively escaping from custody than passively failing
to report or return to custody. Thus, Kluge’s prior felony conviction for Eluding falls
within the scope of the “otherwise” clause and is a “crime of violence.” Cf. United States
v. Pearson, 553 F.3d 1183 (8th Cir. 2009) (holding escape from custody still a violent
felony); United States v. Bradford, No. CR08-0030-LRR, 2009 WL 259871 (N.D. Iowa
Feb. 3, 2009) (concluding felony eluding conviction qualified as a crime of violence). The
acts involved in Eluding are active, aggressive, purposeful and violent.
      Accordingly, the court holds that Kluge is a career offender under USSG §4B1.1,
making his offense level 37.6 Kluge’s criminal history score of 22 criminal history points
makes him a criminal history category VI. His criminal history score was not disputed at
sentencing. Because he qualifies as a career offender, Kluge’s criminal history category
is also VI. USSG §4B1.1(b).




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        Because the instant offense is punishable by a statutory maximum term of life
imprisonment, Kluge’s offense level is 37. See USSG §4B1.1(b)(A).

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                           B. Role in the Offense—USSG §3B1.2
         Kluge argues that he is entitled to a four-level reduction in his offense level for a
mitigating role in the offense pursuant to USSG §3B1.2. The United States argues against
a mitigating role.
         The court does not have to decide this issue, because Kluge’s role in the offense
makes no difference in computing Kluge’s advisory guideline sentence. Kluge’s sentence
is being driven by the finding that he is a career offender pursuant to USSG §4B1.1.
         Because the court does not have to decide this issue, the exhibits offered by Kluge
as Defendant Exhibit B-Z are not relevant to any issue the court has to decide. Therefore,
they are not admitted into the record for purposes of the Hearing and will be returned by
the court to the government.
                         C. Obstruction of Justice—USSG §3C1.1
         The government argues that Kluge should receive a two-level increase in his offense
level for obstruction of justice pursuant to USSG §3C1.1. The allegation is that Kluge
threatened cooperating witnesses. Kluge denies that he engaged in such conduct.
         The court does not have to decide this issue, because even if Kluge obstructed
justice, it would make no difference in computing Kluge’s advisory Sentencing Guideline
range.
         The court, however, will consider the testimony of the witnesses in deciding the
ultimate disposition of Kluge’s case, including whether a variance should be granted or
where within the advisory Guideline Sentencing range the court should sentence Kluge.
                             VIII. MOTION FOR VARIANCE
         In pertinent part, 18 U.S.C. § 3553(a) directs the court to consider the following
factors in determining the particular sentence to be imposed:
         (1)   the nature and circumstances of the offense and the history and
               characteristics of the defendant;
         (2)   the need for the sentence imposed ;


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              (A)    to reflect the seriousness of the offense, to promote
                     respect for the law, and to provide just punishment for
                     the offense;
              (B) to afford adequate deterrence to criminal conduct;
              (C) to protect the public from further crimes of the
                     defendant; and
              (D) to provide the defendant with needed educational or
                     vocational training, medical care, or other correctional
                     treatment in the most effective manner;
       (3)    the kinds of sentences available;
       (4)    the kinds of sentence and the sentencing range established for [. . .]
              the applicable category of offense committed by the applicable
              category of defendant as set forth in the guidelines [. . .] issued by the
              Sentencing Commission[;]
       (5)    any pertinent policy statement [. . .] issued by the Sentencing
              Commission[;]
       (6)    the need to avoid unwarranted sentence disparities among defendants
              with similar records who have been found guilty of similar conduct;
              and
       (7)    the need to provide restitution to any victims of the offense.
18 U.S.C. § 3553(a). The court must “impose a sentence sufficient, but not greater than
necessary, to comply with the purposes set forth in paragraph (2)” above. Id. However,
the court need not explicitly set forth its analysis of all the 18 U.S.C. § 3553(a) factors.
See, e.g., United States v. Lamoreaux, 422 F.3d 750, 756 (8th Cir. 2005) (quoting United
States v. Crosby, 397 F.3d 103, 113 (2d Cir. 2005) (“Nothing in § 3553(a) or in the Booker
remedy opinion requires robotic incantations that each statutory factor has been
considered.”)).
       The court considers the 18 U.S.C. § 3553(a) factors and concludes a guideline
sentence is the appropriate disposition. The court, understanding its wide discretion to vary
and the arguments of Kluge, declines to do so. Kluge is, in the truest sense, a career
offender. Kluge has engaged in criminal activity since the age of fourteen. As noted in
the PSIR, even without the career offender enhancement at USSG §4B1.1, Kluge would be
a criminal history category VI because he has 22 criminal history points, nearly twice as

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many as are needed to be a criminal history category VI under the advisory Sentencing
Guidelines. Many of Kluge’s prior convictions, including those at PSIR paragraphs 58, 59,
60, 61, 62, 63, 64 and 65, did not score for purposes of the advisory Sentencing
Guidelines. Of the convictions that did not score under the advisory guidelines, several are
serious and include two assault convictions, an attempted burglary, escape and carrying a
dangerous weapon.
       Unfortunately for both Kluge and society, lenient sentences in the state court system
have failed to effectuate any change in Kluge’s behavior.           Kluge takes little to no
responsibility for his actions and expresses no desire to change. With his criminal past and
his personal characteristics, including polysubstance abuse and lack of inclination to work
at any lawful occupation, he is at high risk to reoffend. He projects that he is satisfied with
being homeless, unemployed, a drug user and a criminal.
       Pursuant to 18 U.S.C. § 3553(a)(6), “the need to avoid unwarranted sentence
disparities among defendants with similar records and who have been found guilty of
similar conduct” is a factor that the court should consider in imposing a sentence. “Perfect
parity among the sentences imposed on the various members of a criminal conspiracy is no
doubt impossible to achieve, given the complexity of the task.” United States v. Lazenby,
439 F.3d 928, 934 (8th Cir. 2006) (comparing sentencing disparities between co-
conspirators).
       The question, however, is whether 18 U.S.C. § 3553(a)(6) is concerned with intra-
conspiracy disparities or nationwide disparities. The Eighth Circuit Court of Appeals has
noted “‘§ 3553(a)(6) may more appropriately apply to disparities [in general] on a national
level and not within the same conspiracy, . . . .’” Pepper II, 486 F.3d 408, 413 n.2 (8th
Cir. 2007) (quoting United States v. Kane, 470 F.3d 1277, 1281 (8th Cir. 2006) (citations
omitted)); see also United States v. Ball, 499 F.3d 890, 900 n.3 (8th Cir. 2007). Further,
the Second, Third, Fifth, Sixth and Seventh Circuit Courts of Appeals have held that the
appropriate analysis when construing 18 U.S.C. § 3553(a)(6) is national uniformity. See

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e.g. United States v. Simmons, 501 F.3d 620, 622 (6th Cir. 2007); United States v. Parker,
462 F.3d 273, 277 (3d Cir. 2006); United States v. Candia, 454 F.3d 468, 476 (5th Cir.
2006); United States v. Pisman, 443 F.3d 912, 916 (7th Cir. 2006); United States v.
Fernandez, 443 F.3d 19, 31-32 (2d Cir. 2006). But see United States v. Fries, 521 F.3d
229 (2d Cir. 2008), United States v. Neufeld, No. 06-12503, 2007 WL 1231755 (11th Cir.
2007). In the undersigned’s view, the law in the Eighth Circuit Court of Appeals permits,
but does not require, the court to evaluate intra-conspiracy disparities. See Kane, 470 F.3d
at 1281 (holding district court did not abuse its discretion in considering intra-conspiracy
disparity).
       Kluge has not provided sufficient evidence with respect to his co-conspirators to
enable the court to adequately consider intra-conspiracy disparities. Kluge did not discuss
the basis for each co-conspirators sentence in his resentencing memoranda. Kluge did not
even provide the court with each co-conspirator’s sentence. Kluge did not attempt to offer
the sentencing transcripts or PSIRs of his co-conspirators. Accordingly, the court declines
to grant a variance on this basis.
       Because Kluge’s argument is wholly directed at intra-conspiracy disparities and
Kluge failed to provide the court with sufficient evidence to assess intra-conspiracy
disparities, the court is not required to consider his 18 U.S.C. § 3553(a)(6) arguments.
However, out of an abundance of caution, the court shall consider Kluge’s arguments.
       Of the twenty-three co-conspirators, Kluge is totally unique. Kluge is the only co-
conspirator who elected to go to trial and, thus, was not scored with a reduction for
acceptance of responsibility under USSG §3E1.1. The government did not move the court
to reduce his sentence under USSG §5K1.1 as it did with others. Although Kluge was not
a leader or manager of the conspiracy, his criminal history was more similar to those that
were. The court is satisfied that, when Kluge’s sentence is compared with other co-
conspirators, it is not excessive or out of line.



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       The court also finds that, in the instant case and after being convicted, Kluge
threatened to retaliate against cooperating individuals who testified against him at trial. The
court finds that he threatened to harm members of one cooperator’s family. The court finds
that Kluge threatened to have cooperators identified as “snitches” or “rats” in prison by
sending copies of their trial testimony against him to prisons in which they are housed.
Clearly, this type of behavior after conviction is further evidence that the longer prison
sentence provided in the career offender guideline is appropriate and not longer than
necessary to accomplish the goals of sentencing.

                                    IX. DISPOSITION
       The court finds that Kluge’s final advisory Sentencing Guidelines range is 360
months to life imprisonment. After considering all of the 18 U.S.C. § 3553(a) factors, the
court finds that a term of 360 months is appropriate for Kluge on Count 1 of the Third
Superseding Indictment. The court shall impose this sentence on Kluge when the Hearing
resumes on July 2, 2009.
       Kluge’s Motion for Sentencing Variance (docket no. 784) and Motion to Reduce
Sentence for Acceptance of Responsibility (docket no. 786) are DENIED.
       IT IS SO ORDERED.
       DATED this 1st day of July, 2009.




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